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!IC                           DEPARTMENT OF THE TREASURY
 \
                                        U.S. CUSTOMS SERVICE
      TONS 54'
                                            WASHINGTON


                                            AP R 3 0 1982                  REFER TO
                                                                       VES-3-17-00:R:CD:C
                                                                       105604 JM




 Dear Mr. Walsh:

     Your letter dated March 29, 1982, requested advise concern-
ing the proposed use of foreign-built and registered vessels to
transport merchandise between points in the United States. You
state that goods originating in the continentatl United states and
inland cities of Canada will be piggy-backed via the Canadian
National Railway, at least for the Canadian portion of the journey,
to the Canadian port city of Prince Rupert on a through bill of
lading to Alaska. At Prince Rupert, the van type highway trailers
or flat bed trailers containing merchandise will be tansferred to
the foreign roll on-roll off vessel. The vessel will transport the
merchandise to either Valdez or Whittier depending on whether the
the goods are to be piggy-backed on the Alaska Railroad to Fair-
banks. In addition, you state that you believe the Interstate
Commerce Commission has published through tariffs for traffic of
the type mentioned above.

     In view of the fact that goods originating at inland cities
of Canada, provided that the goods were not transported to the
Canadian city from the United States, would not be travelling in
the coastwise trade of the United States, we will limit our dis—
cussion to goods originating in the continental United States.
Your questions are set forth below and answered in the order they
appear in your letter.

                     1.   Will the proposed service qualify under the
                          exemption stated in paragraph 883 of the
                          Jones Act?

     The third proviso to section 27 of the Merchant Marine Act,
1920, as amended (46 U.S.C. 883) reads:

                    That this section shall not apply to merchandise
                    transported between points within the continental
                    United States, including Alaska, over through
                    routes heretofore or hereafter recognized by the
                    Interstate Commerce Commission for which routes
                    rate tariffs have been or shall hereafter be filed
                    with said Commission when such routes are in part
                    over Canadian rail lines and their own or other
                    connecting water facilities....

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                           REPLY TO: COMMISSIONER OF CUSTOMS, WASHINGTON, D.C. 20229'
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      We have held that through routes are, within the meaning of
the third proviso, "recognized by the Interstate Commerce
Commision" when rate tariffs for them have been filed with the
Commission, have not subsequently been rejected for filing, have
 been effectiVe according to their terms, and have not been sub-
sequently .suspended ,by the Commission or superseded or withdrawn.
Such through route rate tariffs are on file in the public file,
Interstate commerce Commission Building. We maintain no list of
=these tariffs.= To determine if through route rate tariffs are on
file for your;:proposed service, you can contact Mr. William P.
Geisnkotter, Chief, Section on Tariffs, Interstate Commerce
Commission, 12th and Constitution, N.W., Washington, D.C. 20229.
Mr. Geisenkotter's telephone number is 202-275-7739.

     We have held that "over Canadian rail lines" means simply
"over rail trackage in Canada" and that "their own or other con—
necting water facilities" means "water facilities, whether or not
connecting with trackage in Canada." Accordingly, your proposed
service will qualify under the third proviso and will not consti-
tute a violation of the coastwise laws of the United States pro—
vided the through route is "recognized by the Interstate Commerce
Commission" as set forth in the preceeding paragraph.

          2.   Will it be necessary or desirable for a
               U.S. Customs official to be present for he
               transshipment of goods at Prince Rupert?

     It will not be necessary for a U.S. Customs official to be
present for transshipment of the goods at Prince Rupert. However,
subsection 123.21(a), Customs Regulations (19 CFR 123.21(a)) pro-
vides in pertinent part that merchandise transported between ports
in the United States through Canada will be treated as importa-
tions when returned to the United States if the merchandise has
been transshipped in foreign territory without Customs supervision
when the transshippment requires the breaking of Customs seals, or
the Customs inspector finds any of the Customs seals applied to
the conveyance or compartment unlocked or missing. Section 123.24,
Customs Regulations, provides that merchandise transported between
ports in the United States through Canada shall be transported in
sealed conveyance or compartments with certain exceptions.

          3.   In the event that the vessel qualifies for
               the exemption under 883, will it therefore
               be entitled to haul goods in bond as "a
               vessel entitled to engage in the coastwise
               trade" pursuant to paragraph 18.1 of the
               Customs Regulations?




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      As stated above, the third proviso of section 883 allows
foreign vessels to transport merchandise between points within
the continental United States, including Canada, over through
routes recognized by the Interstate Commerce Commission and sec-
tion 123.24, Customs Regulations, requires this merchandise to be
transported in bond. Accordingly, vessels qualifying under the
third Proviso of section 883 are entitled to transport merchandise
in bond—over the through routes recognized by the Interstate
CoMffieroe commission.
            4.   Do you foresee our encountering any
                 further difficulties launching this
                 proposed service from a Customs point
                 of view?

     If your proposed service qualifies under the third proviso of
section 883 and you comply with Subpart C of Part 123, Customs
Regulations, you should encounter no further difficulties from the
U.S. Customs Service.

     We are enclosing a copy of Subpart C of Part 123 for your
information.

                                     Sincerely,




                                     Edward B. Gable, Jr.
                                     Chief
                                     Carrier Rulings Branch

Mr. William L. Walsh
1005 Dumbarton Square
4515 MacLeod Trail S.
Calgary, Alberta. T2G OA5

Enclosure




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